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                   Index of Joint Appendix Documents
                      Purcell, et al. v. Kennedy, et al.,
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                              VOLUME F
Materials Available on FDA Webpages
Webpage or
                        Date        Location in Pls.’ Exhibits
Document Name
Excerpt from FDA,       no date     Doc. 222-5, Ex. Vol. D at
REMS Modification                   PCSF734
Notification
(Isotretinoin)

FDA, REMS                Apr. 2021       Doc. 222-5, Ex. Vol. D at
Document: Opioid                         PCSF735
Analgesic REMS
Program

Excerpts from FDA,       Apr. 9, 2021    Doc. 222-5, Ex. Vol. D at
Opioid Analgesic                         PCSF741
REMS (Products tab)

Excerpts from FDA,       Jan. 2019       Doc. 222-5, Ex. Vol. D at
REMS Assessment:                         PCSF744
Planning and
Reporting Guidance,
Guidance for Industry

REMS Homepage            accessed        Doc. 222-5, Ex. Vol. D at
                         Sept. 30,       PCSF751
                         2024
FDA, REMS: FDA’s         Apr. 2019       Doc. 222-5, Ex. Vol. D at
Application of                           PCSF757
Statutory Factors in
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Determining When a
REMS is Necessary:
Guidance for Industry

Excerpts from FDA,       Mar. 2014       Doc. 222-5, Ex. Vol. D at
Labeling (Viagra)                        PCSF770

Excerpts from FDA,       July 6, 2022    Doc. 222-5, Ex. Vol. D at
Supplemental Approval                    PCSF775
(Zydelig)

Litigation Documents
Doc. Name                Date            ECF No.            Location in
                                                            Pls.’ Exhibits
Excerpt from Defs.’      Jan. 10, 2020   ECF 101            Doc. 222-5,
Concise Statement in                                        Ex. Vol. D at
Resp. to Pls.’ Concise                                      PCSF777
Statement of Facts
Joint Stipulations of    Apr. 15,        ECF 140            Doc. 222-5,
Facts                    2021                               Ex. Vol. D at
                                                            PCSF779

Excerpts from Defs.’     Aug. 16,        ECF 213            Doc. 222-5,
Answer to Corrected      2024                               Ex. Vol. D at
Second Amended &                                            PCSF808
Suppl. Complaint
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   NDA ######

                                                         REMS MODIFICATION NOTIFICATION

   APPLICANT NAME
   ADDRESS


   Dear CONTACT: 1

   We refer to your new drug application (NDA) submitted under section 505(b) of the
   Federal Food, Drug, and Cosmetic Act (FDCA) for PROPRIETARY NAME
   (ESTABLISHED NAME).


   RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENT

   The REMS for isotretinoin was originally approved on October 22, 2010, and the most
   recent REMS modification was approved on March 24, 2023. The REMS consists of
   elements to assure safe use, an implementation system, and a timetable for submission
   of assessments of the REMS.

   In accordance with section 505-1(g)(4)(B) of the FDCA, we have determined that your
   approved REMS for isotretinoin must be modified to minimize the burden on the
   healthcare delivery system of complying with the REMS.

   This determination is based on an analysis of potential changes to the current REMS
   requirements that could reduce burden on the healthcare delivery system while
   maintaining a comparable level of safe use. This analysis considered the advice,
   presentations, and discussion from the Joint Meeting of the Drug Safety and Risk
   Management Advisory Committee and the Dermatologic and Ophthalmic Drugs
   Advisory Committee held on March 28-29, 2023; stakeholder feedback from
   prescribers, pharmacists, and patients; review of the literature; experience during the
   COVID-19 Public Health Emergency; review of postmarketing data and REMS
   assessment reports covering years 12 through 16 of the REMS along with additional
   supplemental REMS data provided by the applicants.

   Your approved REMS must be modified as follows:
     x Remove the requirement that pregnancy tests must be performed in a CLIA-
         certified laboratory; however, all pregnancy testing before isotretinoin treatment


   1
   We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance
   Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.



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       Risk Evaluation and Mitigation Strategy (REMS) Document

                                Opioid Analgesic REMS Program

  The Opioid Analgesic REMS Program includes all opioid analgesics used in the outpatient setting and not
                                  covered by other REMS programs.

  I.      Administrative Information
 Initial Shared System REMS Approval:07/2012
 Most Recent REMS Update: 0/20

 II.      REMS Goal
 The Opioid Analgesic REMS is an educational effort and one of a number of national efforts that are
 designed to address the epidemic of prescription opioid abuse.

 The goal of the Opioid Analgesic REMS is to educate prescribers and other healthcare providers (including
 pharmacists and nurses) on the treatment and monitoring of patients with pain. The education provided
 through the REMS program is based on the Opioid Analgesic REMS Education Blueprint for Health Care
 Providers Involved in the Treatment and Monitoring of Patients with Pain (“FDA Blueprint”). Through
 better education, the healthcare team will have an improved understanding of how to manage pain and
 the role of opioid analgesics along with nonpharmacologic and non-opioid analgesics in pain management.
 The education will also provide information about the risks of opioids and use of other therapies which is
 intended to assist healthcare providers in reducing adverse outcomes of addiction, unintentional overdose,
 and death resulting from inappropriate prescribing, abuse, and misuse. The REMS will accomplish this goal
 by:

       1. Ensuring that training based on the FDA Blueprint is effective in educating prescribers and other
          healthcare providers involved in the treatment and monitoring of patients in pain (including
          pharmacists and nurses) about recommended pain management practices and appropriate use of
          opioid analgesics.

       2. Informing patients about their roles and responsibilities regarding their pain treatment plan,
          including the risks of opioid analgesics and how to use and store them safely, as outlined in the
          Medication Guides and Patient Counseling Guide for opioid analgesics.



III.      REMS Requirements
 Opioid Analgesic Applicants must make training available to healthcare providers who
 prescribe and healthcare providers involved in the treatment and monitoring of patients who
 receive opioid analgesics.
 The training must include all the elements of the FDA Blueprint. The training must be made available to
 healthcare providers who prescribe or are involved in the treatment and monitoring (including pharmacists
 and nurses) of patients who receive opioid analgesics.
 Training is compliant with the REMS if it: 1) for training provided by Continuing Education (CE) Providers,
 is offered by an accredited CE Provider and supported by unrestricted educational grants from the opioid
 analgesic applicants; 2) includes all elements of the FDA Blueprint; 3) includes a knowledge assessment of

                                                                                                              1

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all sections of the FDA Blueprint; and 4) is subject to independent audit to confirm that conditions of the
REMS training have been met.


To inform healthcare providers about the REMS Program and the risks and safe use of opioid
analgesics, Opioid Analgesic Applicants must disseminate REMS communication materials
according to the table below:

 Target Audience           Communication Materials & Dissemination Plans
 All DEA-registered        REMS Letter: Healthcare Provider Letter 1 or Professional
 prescribers,              Society/Licensing Board Letter 1 with attachment Patient Counseling
 pharmacies, hospitals,    Guide
 and teaching              1. Email within 60 calendar days of the approval (09/18/2018) of the
 institutions registered      REMS.
 to prescribe or
                                  a. Send by mail within 30 calendar days of the date the first email
 dispense Schedule II,
                                     was sent if a healthcare provider’s email address is not
 III, and IV drugs
                                     available or the email is undeliverable.
                                  b. Send a second email within 30 calendar days of the date the
                                     first email was sent if the first email is marked as unopened.
                                  c. Send by mail within 30 calendar days of the date the second
                                     email was sent if the second email is marked as unopened.
                           2. Disseminate through the following professional societies and request
                              the letter or content be provided to their members:

                                  a. The professional societies identified in Appendix A.

                           3. Disseminate through all dental, medical (allopathic and osteopathic),
                              nursing, and pharmacy licensing boards and request the letter or
                              content be provided to their licensed practitioners.

                           REMS Letter: Healthcare Provider Letter 2 or Professional
                           Society/Licensing Board Letter 2 with attachment Patient Counseling
                           Guide
                           4. Email within 30 calendar days of 03/31/2019.

                                  a. Send by mail within 30 calendar days of the date the first email
                                     was sent if a healthcare provider’s email address is not
                                     available or the email is undeliverable.

                                  b. Send a second email within 30 calendar days of the date the
                                     first email was sent if the first email is marked as unopened.

                                  c. Send by mail within 30 calendar days of the date the second
                                     email was sent if the second email is marked as unopened.

                           5. Disseminate through the following professional societies and request
                              the letter or content be provided to their members.

                                  a. The professional societies identified in Appendix A.

                           6. Disseminate through all dental, medical (allopathic and osteopathic),
                              nursing, and pharmacy licensing boards and request the letter or
                              content be provided to their licensed practitioners.



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 Target Audience                      PageID.9494
                       Communication Materials & Dissemination Plans
 All newly DEA-            REMS Letter: Healthcare Provider Letter 2 with attachment Patient
 registered prescribers,   Counseling Guide
 pharmacies, hospitals,    1. Email annually from the date of the approval (09/18/2018) of the
 and teaching                 REMS.
 institutions registered
                              a. Send by mail within 30 calendar days of the date the first email was
 to prescribe or
                                 sent if a healthcare provider’s email address is not available or the
 dispense Schedule II,
                                 email is undeliverable.
 III, and IV drugs since
 the last dissemination       b. Send a second email within 30 calendar days of the date the first
                                 email was sent if the first email is marked as unopened.
                              c. Send by mail within 30 calendar days of the date the second email
                                 was sent if the second email is marked as unopened.


To support REMS Program operations, Opioid Analgesic Applicants must:
1. Establish and maintain a REMS Program website, www.opioidanalgesicrems.com. The REMS Program
   website must include a current list of training funded by the Opioid Analgesic Applicants that is REMS-
   compliant and the option to print the PI, Medication Guide, and REMS materials. All product websites
   for consumers and healthcare providers must include prominent REMS-specific links to the REMS
   Program website. The REMS Program website must not link back to the promotional product websites.

2. Direct CE Providers to the FDA Blueprint on www.fda.gov/OpioidAnalgesicREMSBlueprint.

3. Make the REMS Program website fully operational and all REMS materials available through the
   website and call center within 60 calendar days of REMS approval (09/18/2018).

4. Establish and maintain a REMS Program call center for healthcare providers at 1-800-503-0784.

5. Ensure healthcare providers who prescribe or are involved in the treatment and monitoring of patients
   who receive opioid analgesics are able to access training by 3/31/2019

6. Notify accredited CE Providers of REMS-compliant training regarding changes to the FDA Blueprint
   within 10 calendar days of such changes.

7. Use independent auditors (accreditation bodies of CE Providers are considered independent and eligible
   to conduct the audits) to audit the educational materials used by the accredited CE Providers of REMS-
   compliant training of a random sample of at least 10% of the training funded by the Opioid Analgesic
   Applicants to evaluate (1) whether the content of the training covers all the components of the FDA
   Blueprint, (2) whether the knowledge assessment measures knowledge of all sections of the FDA
   Blueprint, (3) whether the training was conducted in accordance with the standards for CE of the
   Accreditation Council for Continuing Medication Education or of another CE accrediting body
   appropriate to the prescribers, dental, pharmacy, nursing, or healthcare profession.




IV.    REMS Assessment Timetable
Opioid Analgesic NDA Applicants must submit REMS Assessments at 6 months, 12 months, and annually
thereafter from the date of the approval of the REMS (09/18/2018). To facilitate inclusion of as much
information as possible while allowing reasonable time to prepare the submission, the reporting interval
covered by each assessment should conclude no earlier than 60 calendar days before the submission date


                                                                                                             3

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for that assessment. Opioid Analgesic NDA Applicants must submit each assessment so that it will be
received by the FDA on or before the due date.



V.     REMS Materials
The following materials are part of the Opioid Analgesic REMS:

Training and Educational Materials
     Healthcare Provider:

         1.     Healthcare Provider training available at www.opioidanalgesicrems.com
     Patient:

         2.     Medication Guide (available at www.opioidanalgesicrems.com)
         3.     Patient Counseling Guide

Communication Materials
         4.     Healthcare Provider Letter 1
         5.     Healthcare Provider Letter 2
         6.     Professional Society/Licensing Board Letter 1
         7.     Professional Society/Licensing Board Letter 2

Other Materials
         8.     Opioid Analgesic REMS Education Blueprint for Health Care Providers Involved in the
                Treatment and Monitoring of Patients with Pain (FDA Blueprint)
         9.     Opioid Analgesic REMS Program website (www.opioidanalgesicrems.com)




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Appendix A: List of Professional Societies


       1.   American Academy of Addiction Psychiatry
       2.   Council of Medical Specialty Societies
       3.   Academy of Integrative Pain Management
       4.   Academy of Managed Care Pharmacists
       5.   American Academy of Family Physicians
       6.   American Academy of Hospice and Palliative Medicine
       7.   American Academy of Neurology
       8.   American Academy of Nurse Practitioners
       9.   American Academy of Nursing
       10. American Academy of Orofacial Pain
       11. American Academy of Pain Medicine
       12. American Academy of Physical Medicine and Rehabilitation
       13. American Academy of Physician Assistants
       14. American Association of Colleges of Nursing
       15. American Association of Colleges of Osteopathic Medicine
       16. American Association of Poison Control Centers
       17. American Board of Medical Specialties
       18. American Board of Orofacial Pain
       19. American College of Clinical Pharmacy
       20. American College of Nurse Midwives
       21. American College of Nurse Practitioners
       22. American College of Osteopathic Family Physicians
       23. American College of Physicians
       24. American College of Rheumatology
       25. American Dental Association
       26. American Dental Education Association
       27. American Medical Association
       28. American Medical Directors Association
       29. American Nurses Association
       30. American Nurses Credentialing Center
       31. American Osteopathic Association

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     32. American Osteopathic Association of Addiction Medicine
     33. American Pain Society
     34. American Pediatric Association
     35. American Pharmacists Association
     36. American Psychiatric Nursing Association
     37. American Society for Pain Management Nursing
     38. American Society of Addiction Medicine
     39. American Society of Anesthesiologists
     40. American Society of Consultant Pharmacists
     41. American Society of Pain Educators
     42. Association of American Medical Colleges
     43. Doctors of Nursing Practice
     44. Gerontological Nursing Association
     45. Hospice and Palliative Nurses Association
     46. National Association of Managed Care Professionals
     47. National Association of Pediatric Nurse Practitioners
     48. National Conference of Nurse Practitioners
     49. National League of Nursing
     50. National Organization of Nurse Practitioner Faculties
     51. Nurse Practitioners in Women’s Health
     52. Oncology Nursing Society
     53. Society of Emergency Medicine Physician Assistants




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Drug Databases (https://www.fda.gov/Drugs/InformationOnDrugs/default.htm)



  Approved Risk Evaluation and Mitigation
            Strategies (REMS)

    Opioid Analgesic REMS
    Shared System REMS
    REMS last update: 04/09/2021



        Products            Goals         Summary              REMS Materials

        Assessment Plan                 Update history



        What medicines are included in the REMS?
                                                                                              ExcelCSVPrint
                                                                        Application                        Added to
          Product Name                                                  Number        Application Holder   REMS

          acetaminophen and codeine phosphate (Info at Drugs@FDA        ANDA          AMNEAL PHARMS NY     09/18/2018
          (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   040779
          event=overview.process&ApplNo=040779))

          acetaminophen and codeine phosphate (Info at Drugs@FDA        ANDA          FOSUN PHARMA         09/18/2018
          (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   081249
          event=overview.process&ApplNo=081249))

          acetaminophen and codeine phosphate (Info at Drugs@FDA        ANDA          FOSUN PHARMA         09/18/2018
          (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   081250
          event=overview.process&ApplNo=081250))

          acetaminophen and codeine phosphate (Info at Drugs@FDA        ANDA          AUROLIFE PHARMA      09/18/2018
          (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   202800        LLC
          event=overview.process&ApplNo=202800))

          acetaminophen and codeine phosphate (Info at Drugs@FDA        ANDA          CHARTWELL            09/18/2018
          (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   91238         MOLECULAR
          event=overview.process&ApplNo=91238))




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                                                                      Application                         Added to
    Product Name                                                      Number        Application Holder    REMS

    fentanyl (Info at Drugs@FDA                                       ANDA          KINDEVA               09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?       202097
    event=overview.process&ApplNo=202097))

    fentanyl transdermal system (Info at Drugs@FDA                    ANDA          ZYDUS PHARMS          01/25/2023
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?       209655
    event=overview.process&ApplNo=209655))

    fentanyl transdermal system ( PI and MG at DailyMed               ANDA          SPECGX LLC            07/09/2012
    (https://dailymed.nlm.nih.gov/dailymed/lookup.cfm?                077154
    setid=67cb9ea4-5adb-4a3a-9568-266b6f472078) , Info at
    Drugs@FDA
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=077154) )

    fentanyl transdermal system ( PI and MG at DailyMed               ANDA          AVEVA                 02/14/2013
    (https://dailymed.nlm.nih.gov/dailymed/lookup.cfm?                077449
    setid=51ed4fe8-61fd-499d-abf3-d363f4c096e4) , Info at
    Drugs@FDA
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=077449) )

    fentanyl transdermal system ( PI and MG at DailyMed               ANDA          MYLAN                 07/09/2012
    (https://dailymed.nlm.nih.gov/dailymed/lookup.cfm?                076258        TECHNOLOGIES
    setid=2a2238e9-4b5d-c56d-8663-dd354ff9ae0c) , Info at
    Drugs@FDA
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=076258) )

    Fioricet with Codeine (Info at Drugs@FDA                          ANDA          NOSTRUM LABS INC      09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?       75929
    event=overview.process&ApplNo=75929))

    Fioricet with Codeine (butalbital, acetaminophen, caffeine, and   NDA 20232     ACTAVIS LABS UT INC   09/18/2018
    codeine phosphate) (Info at Drugs@FDA
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=20232))

    Hydrocodone bitartrate (Info at Drugs@FDA                         ANDA          ALVOGEN               01/21/2020
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?       206986
    event=overview.process&ApplNo=206986))




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                                                                  Application                        Added to
    Product Name                                                  Number        Application Holder   REMS

    oxycodone hydrochloride and acetaminophen (Info at            ANDA          ABHAI LLC            12/31/2018
    Drugs@FDA                                                     211499
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=211499))

    oxycodone hydrochloride and acetaminophen (Info at            ANDA          NOSTRUM LABS INC     08/26/2021
    Drugs@FDA                                                     201448
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=201448))

    OxyContin (oxycodone hydrochloride) ( PI and MG at DailyMed   NDA           PURDUE PHARMA LP     07/09/2012
    (https://dailymed.nlm.nih.gov/dailymed/lookup.cfm?            022272
    setid=bfdfe235-d717-4855-a3c8-a13d26dadede) , Info at
    Drugs@FDA
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?
    event=overview.process&ApplNo=022272) )

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          HIKMA                09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   90964
    event=overview.process&ApplNo=90964))

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          EPIC PHARMA LLC      09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   201187
    event=overview.process&ApplNo=201187))

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          AVANTHI INC          09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   203601
    event=overview.process&ApplNo=203601))

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          ASCENT PHARMS INC    09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   210175
    event=overview.process&ApplNo=210175))

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          AUROLIFE PHARMA      09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   204459        LLC
    event=overview.process&ApplNo=204459))

    oxymorphone hydrochloride (Info at Drugs@FDA                  ANDA          TEVA                 09/18/2018
    (https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?   91443
    event=overview.process&ApplNo=91443))




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      REMS Assessment:
    Planning and Reporting
                Guidance for Industry

                               DRAFT GUIDANCE
   For questions regarding this draft document contact (CDER) Doris Auth 301-796-0487, or
   (CBER) Office of Communication, Outreach and Development, 800-835-4709 or 240-402-8010




                      U.S. Department of Health and Human Services
                               Food and Drug Administration
                     Center for Drug Evaluation and Research (CDER)
                    Center for Biologics Evaluation and Research (CBER)

                                        January 2019
                                         Procedural



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                            Contains Nonbinding Recommendations
                                         Draft — Not for Implementation


196   categories described above in section IV.A. More than one metric may be selected for each
197   assessment category. Example metrics for the above assessment categories are provided below.
198
199      x   Metrics in the Program Outreach and Communication assessment category may include
200          numbers of specific REMS materials that were distributed to, and the proportion of these
201          that were subsequently opened or read by, the targeted audiences.
202
203      x   Metrics in the Program Implementation and Operations assessment category may include
204          the number of prescribers, health care settings, and/or pharmacies that have certified or
205          undergone training in the REMS program; the number of contacts to the call center and a
206          summary of the reason for the contact; number and results of audits of certified health
207          care settings; and the number of shipments of the drug to non-certified settings.
208
209      x   Metrics in the Knowledge assessment category may include stakeholder understanding of
210          the risks and safe use of the drug. The draft guidance for industry Survey Methodologies
211          to Assess REMS Goals that Relate to Knowledge provides further recommendations on
212          using surveys to evaluate knowledge of REMS risks and safe use conditions.23
213
214      x   Metrics in the Safe Use Behaviors assessment category can include an evaluation of
215          prescribing patterns and the proportion of patients who were counseled prior to initiating
216          a drug, as evidenced by the use of a REMS material such as a patient counseling tool or
217          patient-provider agreement form.
218
219      x   Metrics in the Health Outcomes and/or Surrogates of Health Outcomes assessment
220          category can include numbers and/or rates of a specific adverse event of interest such as
221          rates of serious bleeds or severe neutropenia. Surrogate metrics could include the number
222          of inadvertent fetal exposures or the number of prevented fetal exposures to the
223          teratogenic drug.
224
225   The metrics that are selected within each assessment category will depend on the goals and
226   objectives of the program, the REMS requirements (e.g., education, dispensing requirements)
227   and REMS material (e.g., prescriber-patient agreement), and the feasibility of the measurement.
228
229   See Appendix 1 for additional examples of some potential metrics for the different assessment
230   categories and Appendix 2 for an example of how the development of a REMS Assessment Plan
231   may be linked to the REMS goals, objectives, and requirements. Applicants may also consider
232   other healthcare program assessment frameworks to help identify and organize REMS metrics.
233
234          C.      Selecting Sources of Assessment Data
235
236   Applicants are encouraged to identify complementary data sources that provide a combination of
237   qualitative and quantitative information about the REMS and should select sources that provide
238   data supporting the REMS assessment starting from the initial REMS implementation.
239   In selecting the sources of data, applicants should take into consideration how accurately and
240   completely each data source can capture the relevant population and important components


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241   necessary for the assessment. Some data sources may be used to assess multiple identified
242   metrics. For example, drug utilization data may be used to assess changes in prescribing
243   behaviors as well as to inform potential barriers to patient access that would require additional
244   analyses. In other cases, multiple data sources may be needed to assess a single metric.
245
246   A detailed description of the data sources and methodological approaches, as well as the
247   applicant’s evaluation of the adequacy of these in assessing the specific REMS requirement or
248   REMS materials, should be provided in the REMS Supporting Document. For all studies, a
249   protocol and statistical analysis plan should be submitted to FDA for review and comment prior
250   to study initiation. If applicable, timelines for the submission of study protocol and interim and
251   final reports should be provided by the applicant and agreed upon by FDA.
252
253   Described below are examples of data sources that may be used to inform REMS assessments.
254   This list is not meant to be comprehensive, and additional sources or approaches may be
255   appropriate.
256
257          1. Applicant’s REMS Data
258
259   REMS with ETASU may include a requirement that the applicant maintain a database of
260   certified/enrolled prescribers, dispensers, healthcare settings, distributors, or patients. This
261   database can be a rich source of data for metrics that apply to several assessment categories.
262   Applicants should carefully consider what data need to be collected for REMS assessment
263   purposes when they design and develop REMS databases.
264
265   As an example, an applicant’s REMS database can collect program participation metrics,
266   including the number of stakeholders or healthcare settings enrolled or certified in the program
267   when an ETASU requires such enrollment or certification. Depending on what data are captured,
268   the database might help to provide information about patient access to the drug, geographic
269   location of prescribers, numbers of prescriptions dispensed, and prescriber specialties. The
270   database can also include data that inform program operations and safe use conditions, such as
271   the number of prescriptions dispensed with and without the proper authorization when the
272   ETASU require such authorization. It may provide information about burden to the healthcare
273   system through categorizing data from general complaints received through a call center or
274   instances of delays in patient access that may be associated with the REMS. For REMS that
275   require a post-training knowledge assessment, the database can capture poor performance on
276   knowledge assessment questions, which can prompt a revision of the training program content to
277   address knowledge gaps. The database may also collect information related to health outcomes
278   of interest or results of laboratory monitoring (e.g., absolute neutrophil counts, pregnancy test
279   results).
280
281   Many applicants also collect other REMS operations data, such as the results of audit findings.
282   Applicants are encouraged to collect data across a wide range of program processes and
283   functions to the extent it facilitates their assessment of their REMS.
284




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285          2. Surveys
286
287   When a REMS includes an objective to inform or educate patients or health care professionals
288   about a serious risk associated with a drug, or about the safe use of a drug, the assessment plan
289   should include an assessment of these stakeholders’ knowledge. The key messages for each
290   targeted stakeholder should be defined prior to REMS approval (and documented in the REMS
291   Supporting Document), should be consistent with the key messages in the counseling, education,
292   or communication materials, and should relate to the REMS objective. Surveys are often used to
293   assess knowledge of these key messages and the related safe use actions to be taken by various
294   stakeholders.
295
296   Assessment of stakeholder understanding of REMS requirements may also be useful to
297   determine whether safe use behaviors are being adopted and whether stakeholders adhere to
298   certain REMS requirements. For example, if a REMS requires prescribers to counsel patients
299   before prescribing the drug, prescribers may be surveyed on whether they did so with the initial
300   and any subsequent prescriptions. Patients, in turn, may be surveyed on whether they received
301   counseling from their provider before they were prescribed the drug.
302
303   In addition to the use of surveys to assess self-reported adherence with program requirements,
304   surveys may also be designed to assess attitudes and beliefs and the potential burden associated
305   with REMS program requirements. FDA’s draft guidance, Survey Methodologies to Assess
306   REMS Goals That Relate to Knowledge, provides recommendations to industry on conducting
307   REMS assessment surveys to assess respondent knowledge of REMS-related information.23
308
309          3. Drug Utilization Data
310
311   Drug utilization data not only provide descriptive information on the patterns of drug use but can
312   also provide useful information on overall disease treatment patterns and healthcare market
313   dynamics. Studies incorporating drug utilization data may be able to measure patient and
314   provider characteristics; reasons for use; rates of drug uptake; concomitant drug use; and, in
315   some cases, more detailed information such as duration of use and drug switching patterns.
316   Finally, drug utilization studies may, in combination with other studies, inform barriers to patient
317   access to the drug (see section V.B.).
318
319   If a REMS Assessment Plan includes a drug utilization study, it should describe the drug
320   utilization data source, the rationale for the data source, and the data collection methodology,
321   design and analytical approaches, and any limitations. The drug utilization study protocol should
322   also describe the national representativeness of the utilization data analyzed, as well as the
323   representativeness of the population evaluated in the drug utilization study relative to the overall
324   patient population receiving the drug product, comprehensiveness of the capture of drug
325   utilization across all settings of care, any linkages to other data sources as relevant/appropriate,
326   and any relevant data projection methodologies employed.
327




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328   For all drug utilization studies, a study protocol should be submitted to FDA for review and
329   comment prior to study initiation. In some cases, a statistical analysis plan may also be
330   necessary.
331
332              4. Postmarketing Adverse Event Data
333
334   Adverse event data can provide qualitative information on adverse events and outcomes related
335   to the risk that the REMS is intended to mitigate. A number of factors affect spontaneous adverse
336   event reporting, including the nature and severity of the adverse event and length of time the
337   product has been on the market.
338
339   The quality of the adverse event reports is critical for appropriate assessment of the REMS;
340   therefore, we recommend collection of targeted information about specific adverse events of
341   interest. The information collected should focus on further characterizing the risk, and capturing
342   patient outcomes, as well as determining whether safe use conditions were met. The type of data
343   the applicant plans to collect to further characterize the adverse event should be included in the
344   REMS Assessment Plan. If feasible, it is helpful to link patient information in the applicant’s
345   REMS database, when one exists, to adverse event reports in the applicant’s adverse event
346   database.
347
348   A well-recognized limitation of spontaneous adverse event reporting is underreporting. It is
349   possible that the extent of underreporting for products with REMS with ETASU is not as
350   extensive as products without REMS, particularly when there is a mechanism to monitor patients
351   for adverse events as part of a REMS requirement. However, because spontaneous adverse event
352   reporting systems do not capture all adverse events, even adverse events for drugs with an
353   approved REMS, the data from those reporting systems cannot be used to calculate the incidence
354   of a particular adverse event.
355
356   Postmarketing adverse event data can be used to compare reporting rates of an adverse event
357   before and after a REMS have been implemented. In certain circumstances, however, it may not
358   be appropriate to do so because there may be differences in the way the adverse event
359   information was obtained. For example, prior to the implementation of a REMS, adverse event
360   information may be collected solely from spontaneous reports. If the REMS includes a prescriber
361   attestation to report adverse events experienced by patients taking the drug, the number of
362   reported events may be higher after REMS implementation (stimulated reporting).
363
364   To the extent possible, several sources should be employed to obtain information on adverse
365   events and outcomes related to the risk that the REMS was intended to mitigate. Adverse event
366   reports received or identified through REMS are still required to be evaluated and must be
367   submitted to FDA per the regulations for postmarketing adverse event reporting.24
368



      24
           21 CFR 314.80, 314.98, and 600.80.



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369           5. Observational/Epidemiology Data
370
371   Studies analyzing observational data to evaluate outcomes associated with use of drug products
372   (i.e., pharmacoepidemiology studies) can be considered to evaluate various aspects of REMS
373   including safe use behaviors, prescribing patterns, barriers to patient access, and safety-related
374   health outcomes or surrogates of those outcomes.
375
376   When designing epidemiology studies to assess a REMS, applicants may consider various
377   population data sources and study designs. FDA has published best practices for conducting and
378   reporting pharmacoepidemiology safety studies using electronic health care data.25 Additionally,
379   the published literature contains guidelines for planning, conduct, analysis, and reporting of
380   epidemiologic studies of drug safety, which could be used to assess the performance of
381   REMS.26,27
382
383   There may be unique challenges in using pharmacoepidemiology data to assess the effectiveness
384   of a REMS. In most instances, existing databases may not adequately capture important data
385   elements, such as the outcome of interest and covariates, therefore limiting the adequacy of a
386   pharmacoepidemiology study to evaluate the metrics of interest. In those instances, studies
387   employing prospective data collection will need to be considered. Additionally, the utility of
388   pharmacoepidemiology data is limited when a REMS is implemented at the time of approval and
389   therefore no data are available on the use of the drug without a REMS. Nevertheless, the optimal
390   design and methodology of studies using observational/epidemiologic data to assess the impact
391   of REMS or specific REMS requirements on certain outcomes are evolving. FDA intends to
392   exercise a flexible approach with regard to such studies.
393
394   This guidance does not recommend a specific pharmacoepidemiology study design or type for
395   REMS assessments, nor does it address the specific population or data sources to be considered.
396   The decision to use a pharmacoepidemiology study should be guided by the questions of interest,
397   and the feasibility of the selected data to adequately evaluate the question of interest. A
398   discussion of the challenges of conducting a proposed assessment and limitations of the data
399   used should be included in the study proposal.
400




      25
         FDA guidance for industry Best Practices for Conducting and Reporting Pharmacoepidemiologic Safety Studies
      Using Electronic Healthcare Data Sets. Available from:
      https://www.fda.gov/downloads/drugs/guidances/ucm243537.pdf.
      26
        Von Elm E, Altman DG, Pocock SJ, et al. Strengthening the Reporting of Observational Studies in Epidemiology
      (STROBE) statement: guidelines for reporting observational studies. BMJ. 2007; 335:806-808.
      27
        European Network of Centres for Pharmacoepidemiology and Pharmacovigilance (ENCePP) Guide on
      Methodological Standards in Pharmacoepidemiology (Revision 1) [Internet]. London (UK): European Medicines
      Agency. EMA/95098/2010. Available at
      http://www.encepp.eu/standards_and_guidances/documents/ENCePPGuideofMethStandardsinPE_2.pdf



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401           6. Data from Root Cause Analysis
402
403   A root cause analysis (RCA) is a structured method used to analyze adverse events or root causes
404   of program deficiencies and focuses on improving systems and processes to enhance patient
405   safety.28 An RCA may need to be conducted to better understand the observed findings from a
406   specific REMS assessment. RCAs may be conducted after a REMS assessment has been
407   completed if it is unclear whether certain aspects of the program are performing as intended.
408   RCAs can help identify determinants and underlying causes of REMS failure to meet its goals.
409   RCAs can also help identify the factors responsible for a particular type of failure of the REMS,
410   as well as burden of the program on the healthcare delivery system, and barriers to patient access
411   to the drug. This analysis may help inform any necessary modifications to the REMS program
412   goals and requirements.
413
414   RCA best practices include the development and use of a predefined protocol and a team-based
415   reconstruction of each issue via retrospective review and interviews. The applicant should then
416   assess the sequence of steps that led to each type of program failure (e.g., inadequate prescriber
417   knowledge, lack of compliance) or unintended effect and determine how and why that event
418   occurred. RCAs can also help assess other adverse events or unfavorable effects that may occur
419   as an unintended consequence of the REMS requirements.
420
421           7. Data from Stakeholder Outreach
422
423   Applicants should consider seeking input from the key stakeholders affected by the REMS,
424   including prescribers, pharmacists, other healthcare professionals, and patients. Input from
425   marketing research surveys, focus groups, and interviews could also inform the applicant and the
426   Agency about the impact of the program on the healthcare delivery system and on patient access
427   to the drug, as well as opportunities for program improvement.
428
429           D.       Specifying Thresholds for REMS Effectiveness
430
431   An additional consideration in REMS assessment planning is specifying performance thresholds
432   for determining the effectiveness of the REMS. The specification of performance thresholds or
433   performance levels over time provides criteria to help determine if REMS program performance
434   is acceptable or if modifications to the REMS are needed. For example, a proposal and
435   justification for a performance threshold should be provided in study protocols for knowledge
436   surveys. In this case, the threshold would be the minimum knowledge rate that, if achieved,
437   demonstrates that the REMS has met its goals of communicating the REMS key messages.23
438
439   The REMS Assessment Plan should specify a performance threshold for a health outcome of
440   interest, if feasible. If the health outcomes of interest for the REMS are difficult to measure
441   directly, performance thresholds should be specified for surrogate metrics.
      28
        Patient safety primers: root cause analysis [Internet]. Rockville (MD): Department of Health and Human Services
      (US). Agency for Healthcare Research and Quality. Available from: http://psnet.ahrq.gov/primer.aspx?primerID=10.
      See also Root Cause Analysis [Internet]. Washington (DC): Department of Veterans Affairs (US). National Center
      for Patient Safety. Available from: https://www.patientsafety.va.gov/professionals/onthejob/rca.asp



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Drug Databases (https://www.fda.gov/Drugs/InformationOnDrugs/default.htm)



          Approved Risk Evaluation and Mitigation Strategies
                              (REMS)

    REMS@FDA (index.cfm)
    Contact Us (https://www.accessdata.fda.gov/scripts/email/cder/comment-rems.cfm) | REMS Resources (https://www.fda.gov/drugs/drug-
    safety-and-availability/risk-evaluation-and-mitigation-strategies-rems) | (https://public.govdelivery.com/accounts/USFDA/subscriber/new?
    topic_id=USFDA_342) Get REMS Email Alerts (https://public.govdelivery.com/accounts/USFDA/subscriber/new?topic_id=USFDA_342) |
    Reports & Data Files (/scripts/cder/rems/index.cfm?event=RemsData.page) | REMS Public Dashboard
    (https://fis.fda.gov/sense/app/ca606d81-3f9b-4480-9e47-8a8649da6470/sheet/6840df68-c772-45f1-bc4f-39d8b04cbfc1/state/analysis)

    Persons with disabilities having problems accessing the PDF file(s) below may call (301) 796-3634 for assistance.


    The Food and Drug Administration Amendments Act of 2007 gave FDA the authority to require a Risk Evaluation and Mitigation Strategy (REMS) from
    manufacturers to ensure that the benefits of a drug or biological product outweigh its risks.
    The table below provides links to currently approved individual and shared system REMS.

    Information on historical and released REMS is available in downloadable: data files
    (https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=RemsData.page).
                                                                                                                                         ExcelCSVPrint
      Filter by Keyword (e.g. REMS name, active ingredient, eleme

                                                                                                                                                             Imp.
                                              REMS        Last   MedGuide
                     Name                                                          Comm. Plan (CP)                               ETASU                      System
                                             Approved    Updated  (MG)*
                                                                                                                                                              (IS)
    Abecma (/scripts/cder/rems/index.cfm?
    event=IndvRemsDetails.page&REMS=406)                                                                            ETASU (/scripts/cder/rems/index.cfm?
    (Idecabtagene vicleucel), suspension, for 03/26/2021 04/04/2024                                             event=IndvRemsDetails.page&REMS=406#tabs-     IS
    intravenous infusion                                                                                                             2)
    BLA #125736
    Adasuve (/scripts/cder/rems/index.cfm?
    event=IndvRemsDetails.page&REMS=2)                                                                              ETASU (/scripts/cder/rems/index.cfm?
                                              12/21/2012 01/27/2022                                                                                           IS
    (loxapine), aerosol, powder                                                                                 event=IndvRemsDetails.page&REMS=2#tabs-2)
    NDA #022549
    Addyi (/scripts/cder/rems/index.cfm?
    event=IndvRemsDetails.page&REMS=350)
                                              08/18/2015 10/09/2019   MG
    (¢ibanserin), tablet
    NDA #022526
    Alvimopan Shared System REMS
    (/scripts/cder/rems/index.cfm?                                                                                  ETASU (/scripts/cder/rems/index.cfm?
                                              12/19/2019 06/12/2023                                                                                           IS
    event=RemsDetails.page&REMS=397)                                                                             event=RemsDetails.page&REMS=397#tabs-3)
    Shared System REMS
    Ambrisentan Shared System
    (/scripts/cder/rems/index.cfm?                                                                                  ETASU (/scripts/cder/rems/index.cfm?
                                              03/28/2019 08/19/2024                                                                                           IS
    event=RemsDetails.page&REMS=396)                                                                             event=RemsDetails.page&REMS=396#tabs-3)
    Shared System REMS
    Aveed (/scripts/cder/rems/index.cfm?
                                                                                                                    ETASU (/scripts/cder/rems/index.cfm?
    event=IndvRemsDetails.page&REMS=313)
                                              03/05/2014 05/26/2022                                             event=IndvRemsDetails.page&REMS=313#tabs-     IS
    (testosterone undecanoate), injection
                                                                                                                                     2)
    NDA #022219
    BKEMV (/scripts/cder/rems/index.cfm?
                                                                                                                    ETASU (/scripts/cder/rems/index.cfm?
    event=IndvRemsDetails.page&REMS=431)
                                              05/28/2024 05/28/2024                                             event=IndvRemsDetails.page&REMS=431#tabs-     IS
    (eculizumab-aeeb), injection
                                                                                                                                     2)
    BLA #761333
    Bosentan (/scripts/cder/rems/index.cfm?
                                                                                                                    ETASU (/scripts/cder/rems/index.cfm?
    event=RemsDetails.page&REMS=395)          04/26/2019 09/17/2024                                                                                           IS
                                                                                                                 event=RemsDetails.page&REMS=395#tabs-3)
    Shared System REMS




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                                         REMS        Last   MedGuide
                 Name                                                               Comm. Plan (CP)                                  ETASU                     System
                                        Approved    Updated  (MG)*
                                                                                                                                                                 (IS)
Breyanzi (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=405)                                                                                   ETASU (/scripts/cder/rems/index.cfm?
(lisocabtagene maraleucel), suspension, 02/05/2021 05/30/2024                                                      event=IndvRemsDetails.page&REMS=405#tabs-     IS
for intravenous infusion                                                                                                                2)
BLA #125714
Brixadi (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=418)
                                         05/23/2023 05/23/2023                                                     event=IndvRemsDetails.page&REMS=418#tabs-     IS
(buprenorphine), injection
                                                                                                                                        2)
NDA #210136
Buprenorphine Transmucosal Products for
Opioid Dependence (BTOD)
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
(/scripts/cder/rems/index.cfm?                      03/20/2024   MG                                                                                              IS
                                                                                                                     event=RemsDetails.page&REMS=9#tabs-3)
event=RemsDetails.page&REMS=9)
Shared System REMS
Camzyos (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=413)
                                         04/28/2022 12/19/2023                                                     event=IndvRemsDetails.page&REMS=413#tabs-     IS
(mavacamten), capsule
                                                                                                                                        2)
NDA #214998
Caprelsa (/scripts/cder/rems/index.cfm?
                                                                                                                      ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=11)
                                         04/06/2011 01/05/2024                                                     event=IndvRemsDetails.page&REMS=11#tabs-      IS
(vandetanib), tablet
                                                                                                                                       2)
NDA #022405
Carvykti (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=412)                                                                                   ETASU (/scripts/cder/rems/index.cfm?
(ciltacabtagene autoleucel), suspension, 02/28/2022 04/05/2024                                                     event=IndvRemsDetails.page&REMS=412#tabs-     IS
for intravenous infusion                                                                                                                2)
BLA #125746
Clozapine (/scripts/cder/rems/index.cfm?
                                                                                                                      ETASU (/scripts/cder/rems/index.cfm?
event=RemsDetails.page&REMS=351)                    09/29/2023                                                                                                   IS
                                                                                                                   event=RemsDetails.page&REMS=351#tabs-3)
Shared System REMS
Copiktra (/scripts/cder/rems/index.cfm?
                                                                             CP (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=382)
                                         09/24/2018 02/02/2022         event=IndvRemsDetails.page&REMS=382#tabs-
(duvelisib), capsule
                                                                                             2)
NDA #211155
Dsuvia (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=384)
                                         11/02/2018 12/19/2023                                                     event=IndvRemsDetails.page&REMS=384#tabs-     IS
(sufentanil), tablet, sublingual
                                                                                                                                        2)
NDA #209128
Elrex¡o (/scripts/cder/rems/index.cfm?
                                                                             CP (/scripts/cder/rems/index.cfm?       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=421)
                                         08/14/2023 09/10/2024         event=IndvRemsDetails.page&REMS=421#tabs- event=IndvRemsDetails.page&REMS=421#tabs-       IS
(elranatamab-bcmm), injection
                                                                                             2)                                       2)
BLA #761345
Empaveli (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=409)
                                         05/14/2021 05/14/2021                                                     event=IndvRemsDetails.page&REMS=409#tabs-     IS
(Pegcetacoplan), injection
                                                                                                                                        2)
NDA #215014
Epysqli (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=434)
                                         07/19/2024 07/19/2024                                                     event=IndvRemsDetails.page&REMS=434#tabs-     IS
(eculizumab-aagh), injection
                                                                                                                                        2)
BLA #761340
Fabhalta (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=425)
                                         12/05/2023 08/07/2024                                                     event=IndvRemsDetails.page&REMS=425#tabs-     IS
(iptacopan), capsule
                                                                                                                                        2)
NDA #218276
Filspari (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=416)
                                         02/17/2023 12/20/2023                                                     event=IndvRemsDetails.page&REMS=416#tabs-     IS
(sparsentan), tablet
                                                                                                                                        2)
NDA #216403
Fintepla (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=400)
                                         06/25/2020 05/24/2024                                                     event=IndvRemsDetails.page&REMS=400#tabs-     IS
(fen¢uramine hydrochloride), solution
                                                                                                                                        2)
NDA #212102




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                                        Approved   Updated  (MG)*
                                                                                                                                                                (IS)
Gattex (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=21)                                                                                  ETASU (/scripts/cder/rems/index.cfm?
(teduglutide [rDNA origin]), injection, 12/21/2012 10/21/2022                                                     event=IndvRemsDetails.page&REMS=21#tabs-
powder, for solution                                                                                                                  2)
NDA #203441
Hepzato (/scripts/cder/rems/index.cfm?
                                                                                                                      ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=422)
                                        08/14/2023 01/22/2024                                                     event=IndvRemsDetails.page&REMS=422#tabs-     IS
(melphalan), injection
                                                                                                                                       2)
NDA #201848
Isotretinoin iPLEDGE
(/scripts/cder/rems/index.cfm?                                                                                       ETASU (/scripts/cder/rems/index.cfm?
                                        10/22/2010 10/03/2023                                                                                                   IS
event=RemsDetails.page&REMS=24)                                                                                    event=RemsDetails.page&REMS=24#tabs-3)
Shared System REMS
Jubbonti (/scripts/cder/rems/index.cfm?
                                                                            CP (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=426)
                                        03/05/2024 08/14/2024         event=IndvRemsDetails.page&REMS=426#tabs-
(denosumab-bbdz), injection
                                                                                            2)
BLA #761362
Juxtapid (/scripts/cder/rems/index.cfm?
                                                                                                                     ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=25)
                                        12/21/2012 04/26/2024                                                     event=IndvRemsDetails.page&REMS=25#tabs-      IS
(lomitapide), capsule
                                                                                                                                      2)
NDA #203858
Jynarque (/scripts/cder/rems/index.cfm?
                                                                            CP (/scripts/cder/rems/index.cfm?       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=380)
                                        04/23/2018 09/29/2023         event=IndvRemsDetails.page&REMS=380#tabs- event=IndvRemsDetails.page&REMS=380#tabs-       IS
(tolvaptan), tablet
                                                                                            2)                                       2)
NDA #204441
Kymriah (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=368)                                                                                  ETASU (/scripts/cder/rems/index.cfm?
(tisagenlecleucel), suspension, for     08/30/2017 08/16/2024                                                     event=IndvRemsDetails.page&REMS=368#tabs-     IS
intravenous infusion                                                                                                                   2)
BLA #125646
Lemtrada (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=340)                                                                                  ETASU (/scripts/cder/rems/index.cfm?
(alemtuzumab), injection, solution,     11/14/2014 03/04/2024                                                     event=IndvRemsDetails.page&REMS=340#tabs-     IS
concentrate                                                                                                                            2)
BLA #103948
Lenalidomide
(/scripts/cder/rems/index.cfm?                                                                                       ETASU (/scripts/cder/rems/index.cfm?
                                        05/21/2021 03/24/2023                                                                                                   IS
event=RemsDetails.page&REMS=410)                                                                                  event=RemsDetails.page&REMS=410#tabs-3)
Shared System REMS
Lumryz (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=401)                                                                                  ETASU (/scripts/cder/rems/index.cfm?
(sodium oxybate extended-release),      05/01/2023 10/31/2023                                                     event=IndvRemsDetails.page&REMS=401#tabs-     IS
solution                                                                                                                               2)
NDA #214755
Macitentan-Containing Products
(/scripts/cder/rems/index.cfm?                                                                                       ETASU (/scripts/cder/rems/index.cfm?
                                        04/06/2021 05/17/2024                                                                                                   IS
event=RemsDetails.page&REMS=407)                                                                                  event=RemsDetails.page&REMS=407#tabs-3)
Shared System REMS
Mifepristone
(/scripts/cder/rems/index.cfm?                                                                                       ETASU (/scripts/cder/rems/index.cfm?
                                        04/11/2019 03/23/2023                                                                                                   IS
event=RemsDetails.page&REMS=390)                                                                                  event=RemsDetails.page&REMS=390#tabs-3)
Shared System REMS
Myalept (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=314)                                                                                  ETASU (/scripts/cder/rems/index.cfm?
(metreleptin), injection, powder,       02/24/2014 03/06/2024                                                     event=IndvRemsDetails.page&REMS=314#tabs-     IS
lyophilized, for solution                                                                                                              2)
BLA #125390
Mycophenolate
(/scripts/cder/rems/index.cfm?                                                                                       ETASU (/scripts/cder/rems/index.cfm?
                                        09/25/2012 08/13/2024
event=RemsDetails.page&REMS=37)                                                                                    event=RemsDetails.page&REMS=37#tabs-3)
Shared System REMS




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                 Name                                                               Comm. Plan (CP)                                 ETASU                      System
                                         Approved    Updated  (MG)*
                                                                                                                                                                 (IS)
Natpara (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=343)                                                                                   ETASU (/scripts/cder/rems/index.cfm?
(parathyroid hormone), injection, powder, 01/23/2015 09/14/2023                                                    event=IndvRemsDetails.page&REMS=343#tabs-     IS
lyophilized, for solution                                                                                                               2)
BLA #125511
Opioid Analgesic REMS
(/scripts/cder/rems/index.cfm?                                                                                        ETASU (/scripts/cder/rems/index.cfm?
                                          07/09/2012 04/09/2021   MG
event=RemsDetails.page&REMS=17)                                                                                     event=RemsDetails.page&REMS=17#tabs-3)
Shared System REMS
Palforzia (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=398)                                                                                   ETASU (/scripts/cder/rems/index.cfm?
(Peanut (Arachis hypogaea) Allergen       01/31/2020 07/26/2024                                                    event=IndvRemsDetails.page&REMS=398#tabs-     IS
Powder-dnfp), powder                                                                                                                    2)
BLA #125696
Palynziq (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=381)
                                          05/24/2018 12/09/2023                                                    event=IndvRemsDetails.page&REMS=381#tabs-     IS
(pegvaliase-pqpz), injection, solution
                                                                                                                                        2)
BLA #761079
Phentermine and Topiramate Extended-
Release Capsules
                                                                                                                      ETASU (/scripts/cder/rems/index.cfm?
(/scripts/cder/rems/index.cfm?            06/25/2024 06/25/2024   MG                                                                                             IS
                                                                                                                   event=RemsDetails.page&REMS=433#tabs-3)
event=RemsDetails.page&REMS=433)
Shared System REMS
Piasky (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=432)
                                          06/20/2024 06/20/2024                                                    event=IndvRemsDetails.page&REMS=432#tabs-     IS
(Crovalimab-akkz), injection
                                                                                                                                        2)
BLA #761388
Pomalidomide
(/scripts/cder/rems/index.cfm?                                                                                        ETASU (/scripts/cder/rems/index.cfm?
                                          10/30/2020 10/30/2020                                                                                                  IS
event=RemsDetails.page&REMS=404)                                                                                   event=RemsDetails.page&REMS=404#tabs-3)
Shared System REMS
Pomalyst (/scripts/cder/rems/index.cfm?
                                                                                                                      ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=41)
                                          02/08/2013 03/24/2023                                                    event=IndvRemsDetails.page&REMS=41#tabs-      IS
(pomalidomide), capsule
                                                                                                                                       2)
NDA #204026
Probuphine
(/scripts/cder/rems/index.cfm?                                                                                         ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=356) 05/26/2016 11/01/2018        MG                                               event=IndvRemsDetails.page&REMS=356#tabs-     IS
(buprenorphine hydrochloride), implant                                                                                                  2)
NDA #204442
Prolia (/scripts/cder/rems/index.cfm?
                                                                             CP (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=43)
                                          06/01/2010 04/09/2024         event=IndvRemsDetails.page&REMS=43#tabs-
(denosumab), injection
                                                                                             2)
BLA #125320
PS-Mycophenolate
(/scripts/cder/rems/index.cfm?                                                                                        ETASU (/scripts/cder/rems/index.cfm?
                                          06/01/2023 06/01/2023
event=RemsDetails.page&REMS=419)                                                                                   event=RemsDetails.page&REMS=419#tabs-3)
Shared System REMS
Qsymia (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=45)                                                                                   ETASU (/scripts/cder/rems/index.cfm?
(phentermine and topiramate), capsule,    07/17/2012 02/06/2024   MG                                               event=IndvRemsDetails.page&REMS=45#tabs-      IS
extended release                                                                                                                       2)
NDA #022580
Riociguat Shared System REMS
(/scripts/cder/rems/index.cfm?                                                                                        ETASU (/scripts/cder/rems/index.cfm?
                                          10/08/2013 09/01/2022                                                                                                  IS
event=RemsDetails.page&REMS=414)                                                                                   event=RemsDetails.page&REMS=414#tabs-3)
Shared System REMS
Siliq (/scripts/cder/rems/index.cfm?
                                                                                                                       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=362)
                                          02/15/2017 07/19/2023                                                    event=IndvRemsDetails.page&REMS=362#tabs-     IS
(brodalumab), injection
                                                                                                                                        2)
BLA #761032
Sodium Oxybate
(/scripts/cder/rems/index.cfm?                                                                                        ETASU (/scripts/cder/rems/index.cfm?
                                          01/17/2017 01/17/2024                                                                                                  IS
event=RemsDetails.page&REMS=361)                                                                                   event=RemsDetails.page&REMS=361#tabs-3)
Shared System REMS




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                  Name                                                                  Comm. Plan (CP)                               ETASU                      System
                                            Approved    Updated  (MG)*
                                                                                                                                                                   (IS)
Spravato (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=386)
                                              03/05/2019 01/03/2022                                                 event=IndvRemsDetails.page&REMS=386#tabs-      IS
(esketamine), spray
                                                                                                                                         2)
NDA #211243
Sublocade
(/scripts/cder/rems/index.cfm?                                                                                          ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=376) 11/30/2017 04/19/2024                                                          event=IndvRemsDetails.page&REMS=376#tabs-      IS
(buprenorphine extended-release), injection                                                                                              2)
NDA #209819
Tecvayli and Talvey
(/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=415)
(talquetamab-tgvs), injection; injection,                                        CP (/scripts/cder/rems/index.cfm?       ETASU (/scripts/cder/rems/index.cfm?
solution                                      10/25/2022 07/02/2024        event=IndvRemsDetails.page&REMS=415#tabs- event=IndvRemsDetails.page&REMS=415#tabs-     IS
BLA #761291                                                                                      2)                                       2)
BLA #761342
BLA #761291
BLA #761342
Tegsedi (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=383)
                                              10/05/2018 08/24/2023                                                 event=IndvRemsDetails.page&REMS=383#tabs-      IS
(Inotersen), injection
                                                                                                                                         2)
NDA #211172
Thalidomide
(/scripts/cder/rems/index.cfm?                                                                                          ETASU (/scripts/cder/rems/index.cfm?
                                              04/27/2023 04/27/2023                                                                                                IS
event=RemsDetails.page&REMS=417)                                                                                     event=RemsDetails.page&REMS=417#tabs-3)
Shared System REMS
Thalomid (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=58)
                                              08/03/2010 03/24/2023                                                  event=IndvRemsDetails.page&REMS=58#tabs-      IS
(thalidomide), capsule
                                                                                                                                         2)
NDA #020785
Transmucosal Immediate-Release
Fentanyl (TIRF) Products
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
(/scripts/cder/rems/index.cfm?                12/28/2011 08/28/2024   MG                                                                                           IS
                                                                                                                      event=RemsDetails.page&REMS=60#tabs-3)
event=RemsDetails.page&REMS=60)
Shared System REMS
Tryvio (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=427)
                                              03/19/2024 08/23/2024                                                 event=IndvRemsDetails.page&REMS=427#tabs-      IS
(aprocitentan), tablet
                                                                                                                                         2)
NDA #217686
Turalio (/scripts/cder/rems/index.cfm?
                                                                                 CP (/scripts/cder/rems/index.cfm?       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=389)
                                              08/02/2019 04/17/2023        event=IndvRemsDetails.page&REMS=389#tabs- event=IndvRemsDetails.page&REMS=389#tabs-     IS
(pexidartinib), capsule
                                                                                                 2)                                       2)
NDA #211810
Tyruko (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=423)
                                              08/24/2023 08/24/2023   MG                                            event=IndvRemsDetails.page&REMS=423#tabs-      IS
(natalizumab-sztn), injection
                                                                                                                                         2)
BLA #761322
Tysabri (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=63)
                                              10/07/2011 09/01/2023   MG                                             event=IndvRemsDetails.page&REMS=63#tabs-      IS
(natalizumab), injection
                                                                                                                                         2)
BLA #125104
Ultomiris and Soliris
(/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=429)
(eculizumab), injection; injection, solution,                                                                           ETASU (/scripts/cder/rems/index.cfm?
concentrate                                   06/04/2010 09/03/2024                                                 event=IndvRemsDetails.page&REMS=429#tabs-      IS
BLA #125166                                                                                                                              2)
BLA #761108
BLA #125166
BLA #761108
Van¢yta (/scripts/cder/rems/index.cfm?
                                                                                                                        ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=420)
                                              07/20/2023 07/20/2023                                                 event=IndvRemsDetails.page&REMS=420#tabs-      IS
(quizartinib), tablet
                                                                                                                                         2)
NDA #216993




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                                     Approved   Updated  (MG)*
                                                                                                                                                         (IS)
Vigabatrin
(/scripts/cder/rems/index.cfm?                                                                                 ETASU (/scripts/cder/rems/index.cfm?
                                            04/27/2017 09/12/2024                                                                                        IS
event=RemsDetails.page&REMS=364)                                                                            event=RemsDetails.page&REMS=364#tabs-3)
Shared System REMS
Voydeya (/scripts/cder/rems/index.cfm?
                                                                                                               ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=430)
                                            03/29/2024 08/28/2024                                          event=IndvRemsDetails.page&REMS=430#tabs-     IS
(danicopan), tablet
                                                                                                                                2)
NDA #218037
Xia¢ex (/scripts/cder/rems/index.cfm?
                                                                                                               ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=71)
                                            02/02/2010 11/02/2022                                           event=IndvRemsDetails.page&REMS=71#tabs-     IS
(collagenase clostridium histolyticum), kit
                                                                                                                                2)
BLA #125338
Xywav and Xyrem
(/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=345)
(calcium, magnesium, potassium, and                                                                            ETASU (/scripts/cder/rems/index.cfm?
sodium oxybates), solution                  02/27/2015 05/22/2024                                          event=IndvRemsDetails.page&REMS=345#tabs-     IS
NDA #021196                                                                                                                     2)
NDA #212690
NDA #021196
NDA #212690
Yescarta and Tecartus
(/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=375)
(axicabtagene ciloleucel), suspension, for                                                                     ETASU (/scripts/cder/rems/index.cfm?
intravenous infusion                        10/18/2017 06/12/2024                                          event=IndvRemsDetails.page&REMS=375#tabs-     IS
BLA #125643                                                                                                                     2)
BLA #125703
BLA #125643
BLA #125703
Zilbrysq (/scripts/cder/rems/index.cfm?
                                                                                                               ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=424)
                                            10/17/2023 01/16/2024                                          event=IndvRemsDetails.page&REMS=424#tabs-     IS
(zilucoplan), injection
                                                                                                                                2)
NDA #216834
Zulresso (/scripts/cder/rems/index.cfm?
                                                                                                               ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=387)
                                            03/19/2019 10/17/2023                                          event=IndvRemsDetails.page&REMS=387#tabs-     IS
(brexanolone), injection
                                                                                                                                2)
NDA #211371
Zyprexa Relprevv
(/scripts/cder/rems/index.cfm?                                         CP (/scripts/cder/rems/index.cfm?       ETASU (/scripts/cder/rems/index.cfm?
event=IndvRemsDetails.page&REMS=74) 12/11/2009 04/28/2021 MG      event=IndvRemsDetails.page&REMS=74#tabs- event=IndvRemsDetails.page&REMS=74#tabs-      IS
(olanzapine), kit                                                                      2)                                       2)
NDA #022173
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*Many products within these REMS programs have Medication Guides not part of the REMS program. For a full list of Medication Guides click here
(http://www.fda.gov/Drugs/DrugSafety/ucm085729.htm).




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     REMS: FDA’s Application of
          Statutory Factors in
     Determining When a REMS Is
               Necessary

                      Guidance for Industry




                     U.S. Department of Health and Human Services
                              Food and Drug Administration
                    Center for Drug Evaluation and Research (CDER)
                   Center for Biologics Evaluation and Research (CBER)

                                      April 2019
                                      Drug Safety




                                       PCSF757
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     REMS: FDA’s Application of
          Statutory Factors in
     Determining When a REMS Is
               Necessary
                          Guidance for Industry
                                     Additional copies are available from:

                             Office of Communications, Division of Drug Information
                                     Center for Drug Evaluation and Research
                                          Food and Drug Administration
                             10001 New Hampshire Ave., Hillandale Bldg., 4th Floor
                                          Silver Spring, MD 20993-0002
                           Phone: 855-543-3784 or 301-796-3400; Fax: 301-431-6353
                                          Email: druginfo@fda.hhs.gov
           http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default.htm

                                                    and/or

                               Office of Communication, Outreach and Development
                                   Center for Biologics Evaluation and Research
                                          Food and Drug Administration
                                 10903 New Hampshire Ave, Bldg. 71, Room 3128
                                          Silver Spring, MD 20993-0002
                                      Phone: 800-835-4709 or 240-402-8010
                                             Email: ocod@fda.hhs.gov
         http://www.fda.gov/BiologicsBloodVaccines/GuidanceComplianceRegulatoryInformation/default.htm



                        U.S. Department of Health and Human Services
                                 Food and Drug Administration
                       Center for Drug Evaluation and Research (CDER)
                      Center for Biologics Evaluation and Research (CBER)

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                                                Drug Safety




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         REMS: FDA’s Application of Statutory Factors in Determining
                       When a REMS Is Necessary

                                          Guidance for Industry 1

    This guidance represents the current thinking of the Food and Drug Administration (FDA or Agency) on
    this topic. It does not establish any rights for any person and is not binding on FDA or the public. You
    can use an alternative approach if it satisfies the requirements of the applicable statutes and regulations.
    To discuss an alternative approach, contact the FDA office responsible for this guidance as listed on the
    title page.




    I.       INTRODUCTION

    This guidance is intended to clarify how the Food and Drug Administration (FDA or Agency)
    applies the factors set forth in section 505-1 of the Federal Food, Drug, and Cosmetic Act
    (FD&C Act) (21 U.S.C. 355-1) in determining whether a risk evaluation and mitigation strategy
    (REMS) is necessary to ensure that the benefits of a drug outweigh its risks. 2 This guidance
    fulfills one of the performance goals that FDA agreed to satisfy in the reauthorization of the
    Prescription Drug User Fee Act (PDUFA) V. 3

    FDA’s guidance documents, including this guidance, do not establish legally enforceable
    responsibilities. Instead, guidances describe the Agency’s current thinking on a topic and should
    be viewed only as recommendations, unless specific regulatory or statutory requirements are
    cited. The use of the word should in agency guidances means that something is suggested or
    recommended, but not required.




    1
     This guidance has been prepared by the Office of New Drugs, Office of Surveillance and Epidemiology, Office of
    Medical Policy, and Office of Regulatory Policy in the Center for Drug Evaluation and Research (CDER), in
    cooperation with the Center for Biologics Evaluation and Research (CBER), at the Food and Drug Administration.
    2
      Section 505-1 of the FD&C Act applies to applications for prescription drugs submitted or approved under
    subsections 505(b) (i.e., new drug applications) or (j) (i.e., abbreviated new drug applications) of the FD&C Act and
    to applications submitted or licensed under section 351 (i.e., biologics license applications) of the Public Health
    Service Act (PHS Act) (42 U.S.C. 262). For the purposes of this document, unless otherwise specified, the term
    drug refers to human prescription drugs, including those that are licensed as biological products (biologics).
    3
     Section XI.A.1 of “PDUFA Reauthorization Performance Goals and Procedures Fiscal Years 2013 Through 2017”
    (PDUFA V), available at
    http://www.fda.gov/downloads/ForIndustry/UserFees/PrescriptionDrugUserFee/UCM270412.pdf.



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    II.           BACKGROUND

    The Food and Drug Administration Amendments Act of 2007 (FDAAA) 4 created section 505-1
    of the FD&C Act, which establishes FDA’s REMS authority. A REMS is a required risk
    management plan that can include one or more elements to ensure that the benefits of a drug
    outweigh its risks. 5

    If FDA determines that a REMS is necessary, the Agency may require one or more REMS
    elements, which could include a Medication Guide, 6 a patient package insert, 7 and/or a
    communication plan. 8 FDA may also require elements to assure safe use (ETASU) as part of a
    REMS. 9 ETASU may be required if the drug has been shown to be effective, but is associated
    with a specific serious risk and can be approved only if, or would be withdrawn unless, such
    elements are required as part of a strategy to mitigate a specific serious risk(s) listed in the
    labeling of the drug. ETASU may be required for approved drug products that were initially
    approved without ETASU when other elements are not sufficient to mitigate a serious risk.
    Specifically, ETASU may include one or any combination of the following requirements 10:
              x   Health care providers who prescribe the drug have particular training or experience, or
                  are specially certified;
              x   Pharmacies, practitioners, or health care settings that dispense the drug are specially
                  certified;
              x   The drug be dispensed to patients only in certain health care settings, such as hospitals;
              x   The drug be dispensed to patients with evidence or other documentation of safe use
                  conditions, such as laboratory test results;
              x   Each patient using the drug be subject to monitoring; or
              x   Each patient using the drug be enrolled in a registry.

    If a REMS includes certain ETASU, the REMS may also include an implementation system to
    enable the applicant to monitor, evaluate, and improve the implementation of the elements (e.g.,
    development of a REMS specific Web site or call center to facilitate enrollment; establishment of
    electronic databases of certified health care settings). 11




    4
        Public Law 110-85.
    5
        See section 505-1(e) of the FD&C Act and section 505-1(f) of the FD&C Act.
    6
        See Section 505-1(e)(2) of the FD&C Act.
    7
        Id.
    8
        See Section 505-1(e)(3) of the FD&C Act.
    9
        See Section 505-1(f) of the FD&C Act.
    10
         See Section 505-1(f)(3) of the FD&C Act.
    11
         See Section 505-1(f)(4) of the FD&C Act.




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    All REMS should include one or more overall goals, and if the REMS has ETASU, the REMS
    must include one or more goals to mitigate a specific serious risk listed in the labeling of the
    drug and for which the ETASU are required. 12
    Finally, REMS generally must include a timetable for submission of assessments of the REMS. 13
    The timetable for submission of assessments of the REMS must include an assessment by the
    dates that are 18 months and 3 years after the REMS is initially approved, and an assessment in
    the 7th year after the REMS is approved, or at another frequency specified in the REMS. 14
    FDA can require a REMS before initial approval of a new drug application or, should FDA
    become aware of new safety information 15 about a drug and determine that a REMS is necessary
    to ensure that the benefits of the drug outweigh its risks, after the drug has been approved. 16

    Before FDAAA was enacted, FDA approved a small number of drugs and biologics with risk
    minimization action plans (RiskMAPs). 17 A RiskMAP is a strategic safety program designed to
    meet specific goals and objectives in minimizing the known risks of a drug while preserving the
    drug’s benefits. RiskMAPs were developed for products that had risks that required additional
    risk management strategies that went beyond the provision of FDA-approved labeling, including
    the prescribing information. 18 In 2005, FDA issued a guidance for industry, Development and
    Use of Risk Minimization Action Plans (RiskMAP Guidance). 19 Many of the principles described
    in the RiskMAP Guidance are reflected in the REMS provisions set forth in FDAAA 20 and have
    been incorporated into FDA’s REMS decision-making process. The purpose of this new
    guidance is to explain FDA’s current application of previously articulated risk management
    principles and considerations under the REMS regulatory paradigm.




    12
         See Section 505-1(f)(3) of the FD& C Act.
    13
      New Drug Applications (NDAs) and Biologics License Applications (BLAs) must include a timetable for
    submission of assessments. ANDAs are not subject to the requirement for a timetable for submission of assessments
    (Section 505-1(i)), but FDA can require any application holder, including ANDA applicants, to submit REMS
    assessments under Section 505-1(g)(2)(C).
    14
         See Section 505-1(d); see also 505-1(g)(2) of the FD&C Act.
    15
         Section 505-1(b)(3) of the FD&C Act.
    16
         See section 505-1(a)(2) of the FD&C Act.
    17
      Some of these drugs were approved pursuant to either subpart H (21 CFR 314.520) or subpart E (21 CFR 601.42)
    with restrictions on their use or distribution to assure safe use.
    18
      A drug’s prescribing information (PI) contains a summary of the essential scientific information needed for the
    safe and effective use of the drug. 21 CFR 201.56(a)(1). The PI is updated from time to time to incorporate
    information from postmarketing surveillance or studies, for example, revealing new benefits or risk concerns.
    19
      The RiskMAP Guidance is available at https://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-
    gen/documents/document/ucm071616.pdf.
    20
         See section 505-1(a)(1) of the FD&C Act.



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    III.       MANAGING DRUG RISKS

    The statutory standard for FDA approval of a drug is that the drug is safe and effective for its
    labeled indications under its labeled conditions of use. 21 FDA’s determination that a drug is
    safe, however, does not suggest an absence of risk. Rather, a drug is considered to be safe if the
    clinical significance and probability of its beneficial effects outweigh the likelihood and medical
    importance of its harmful or undesirable effects. In other words, a drug is considered safe if it
    has an appropriate benefit-risk balance.

    Risk management is a key factor in FDA’s risk-benefit assessment. 22 As described in previous
    guidances, risk management consists of both risk assessment and risk minimization: it is an
    iterative process involving (1) assessing a drug’s benefit-risk balance, (2) developing and
    implementing tools to minimize the drug’s risks while preserving its benefits, (3) evaluating tool
    effectiveness and reassessing the benefit-risk balance, and (4) making adjustments, as
    appropriate, to risk minimization tools to further improve the benefit-risk balance. This four-part
    process should be continuous throughout a drug’s life cycle, with the results of risk assessment
    informing the sponsor’s decisions regarding risk minimization. 23


    IV.        THE USE OF REMS IN MANAGING DRUG RISKS

    The goal of risk mitigation is to preserve a drug’s benefits while reducing its risks to the extent
    possible. For the majority of drugs, routine risk mitigation measures, such as providing health
    care providers with risk information through FDA-approved prescribing information, are
    sufficient to preserve benefits while minimizing risks. In some cases, however, FDA may
    consider whether a REMS would help ensure that the benefits of the drug outweigh its risks.

    FDA’s determination as to whether a REMS is necessary for a particular drug is a complex,
    drug-specific inquiry, reflecting an analysis of multiple, interrelated factors and of how those
    factors apply in a particular case. In conducting this analysis, FDA considers whether (based on
    premarketing or postmarketing risk assessments) there is a particular risk or risks associated with
    the use of the drug that, on balance, outweigh its benefits and whether additional interventions
    beyond FDA-approved labeling are necessary to ensure that the drug’s benefits outweigh its
    risks.

    In making these determinations, FDA may take into consideration information from a variety of
    sources, including FDA’s internal and external experts with specialized expertise relevant to a
    particular risk, input on relevant issues from other centers within FDA, other government
    21
         See section 505(d) of the FD&C Act (21 U.S.C. 355(d)).
    22
      Information about FDA’s Benefit-Risk Assessment Framework is available at
    https://www.fda.gov/ForIndustry/UserFees/PrescriptionDrugUserFee/ucm326192.htm
    23
      See the following FDA guidances for industry: Premarketing Risk Assessment, available at
    https://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-gen/documents/document/ucm072002.pdf;
    RiskMAP Guidance; and Good Pharmacovigilance Practices and Pharmacoepidemiologic Assessment, available at
    http://www.fda.gov/ucm/groups/fdagov-public/@fdagov-drugs-gen/documents/document/ucm071696.pdf.



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    agencies, advisory committee meetings, the Drug Safety Oversight Board, literature, and
    professional societies. For approved drugs, FDA may also gather information from post-
    approval adverse event reports and active surveillance, as well as from post-approval clinical
    trials and other post-approval studies, including epidemiological studies, when evaluating
    whether a REMS is necessary.

    If FDA determines that a REMS is necessary, the Agency considers what the goals of a proposed
    REMS to address these risks would be and what specific REMS elements, as described above,
    could help meet those goals. The REMS should be designed to meet the relevant goals, not
    unduly impede patient access to the drug, and minimize the burden on the health care delivery
    system to the extent practicable. If FDA believes that the drug’s risks would exceed its benefits
    even if FDA were to require a REMS for the drug, FDA will not approve the drug or may
    consider seeking withdrawal of the drug if it is already being marketed.


    V.       APPLICATION OF STATUTORY FACTORS IN REMS DECISION-MAKING

    Section 505-1(a)(1) of the FD&C Act, as added by FDAAA, requires FDA to consider the
    following six factors 24 in making a decision about whether to require a REMS:

         x   The seriousness of any known or potential adverse events that may be related to the drug
             and the background incidence of such events in the population likely to use the drug;

         x   The expected benefit of the drug with respect to the disease or condition;

         x   The seriousness of the disease or condition that is to be treated with the drug;

         x   Whether the drug is a new molecular entity;

         x   The expected or actual duration of treatment with the drug; and

         x   The estimated size of the population likely to use the drug.

    These six factors influence FDA’s decisions with respect to whether a REMS is required for a
    particular drug and what type of REMS might be necessary (i.e., what specific elements or tools
    should be included as part of the REMS). FDA makes decisions about requiring a REMS as part
    of a benefit-risk determination for a drug after an evaluation that includes integrated
    consideration of each of the statutory factors. All six factors are considered together to inform
    FDA’s REMS decision making process and no single factor is determinative as to whether a
    REMS is necessary. The relative importance or weight of each factor is a case specific inquiry.
    The application of these factors is discussed in the sections below.


    24
      The FD&C Act requires that FDA consider these factors in determining whether a REMS is necessary for a new
    drug. FDA also generally considers these factors in determining whether (based on new safety information) a
    REMS is necessary for a drug that is the subject of an approved application.



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             A.       Seriousness of Known or Potential Adverse Events That May Be Related to
                      the Drug and the Background Incidence of Such Events in the Population
                      Likely To Use the Drug

    The more serious 25 a drug’s known or potential associated risks relative to its benefits, the more
    likely it is that a REMS will be necessary to ensure that the benefits of the drug outweigh its
    risks. In determining whether to require a REMS, FDA considers the source, nature and
    reliability of available scientific evidence about the adverse events as well as the characteristics
    of the risks, including the reversibility, preventability, temporality, frequency, severity,
    background incidence, and likelihood of occurrence.

    For drugs associated with adverse events that are reversible or preventable if particular measures
    are taken promptly, FDA may consider requiring a REMS to help ensure that such measures are
    undertaken in a timely manner to minimize or prevent a serious adverse event. For example, for
    a drug that is associated with hepatotoxicity that is reversible with drug discontinuation, the
    REMS may require that the patient be monitored through laboratory studies so that the drug can
    be discontinued if and when hepatic enzyme elevations are observed.

    A drug that is associated with a risk of a serious adverse event that is irreversible, such as one
    that causes a permanent disability or persistent incapacity, may be particularly likely to have a
    favorable benefit-risk profile only in the presence of a REMS that helps minimize drug exposure
    and the associated occurrence of the adverse event. In such cases, a REMS may include, for
    example, a prescriber certification requirement that includes prescriber training and patient
    counseling on the nature of the associated risk and on the drug’s benefit-risk balance to facilitate
    informed patient and prescriber decisions about treatment with the drug. Such REMS are
    designed to ensure that patients are fully informed of the serious risk before beginning therapy
    and may involve patient acknowledgment forms or other methods of documenting that such
    patient-provider discussions have taken place. This kind of REMS is particularly important for
    drugs with limited available methods of preventing the actual occurrence of drug-associated
    adverse events.

    The frequency and severity of adverse events associated with the use of a drug may also affect
    FDA’s determination of whether a REMS is necessary. While a high frequency of adverse
    events may necessitate a REMS to mitigate this risk, FDA may also require a REMS for an
    infrequent adverse event, if the adverse event is particularly severe.

    As part of its assessment of whether a particular adverse event is drug-associated, FDA examines
    the rate of the adverse event in individuals exposed to the drug relative to the background
    incidence of the adverse event in the population likely to use the drug. If an adverse event is
    determined to be drug-associated, FDA may determine that treatment with the drug unacceptably


    25Section 505-1(b)(4) of the FD&C Act defines an adverse drug experience as serious if it results in death,
    immediate risk of death, inpatient hospitalization or prolongation of existing hospitalization, a persistent or
    significant incapacity or substantial disruption of the ability to conduct normal life functions, or a congenital
    anomaly/birth defect (or, based on appropriate medical judgment, may jeopardize the patient and may require a
    medical or surgical intervention to prevent the above-described outcomes).



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    increases the frequency and/or severity of the adverse event in the patient population and that
    this risk needs to be mitigated through a REMS.

    As part of its evaluation of the risks associated with the use of a drug, FDA also takes into
    consideration whether information about managing the particular risk is widely available and
    whether risk management measures are being widely implemented. FDA may also consider
    factors such as the specialties of the healthcare providers who may prescribe, dispense or
    administer the drug and whether approaches to mitigate the risk are standard and well-known by
    the health care professional or are less familiar to the health care professional when determining
    whether a REMS is needed. The Agency also takes into account the health care setting(s) in
    which the drug is used or is likely to be used. For drugs intended for use in an outpatient setting,
    FDA considers the degree to which patients can be expected to reliably recognize symptoms as
    being associated with a drug and to take necessary actions to address adverse events. If, for
    example, FDA expects that a drug will likely be used in a setting where patient monitoring and
    certain medical equipment are not available, and believes that such measures are needed to
    mitigate the risks associated with the use of the drug, FDA may require a REMS with ETASU to
    limit use of the drug to settings in which these measures are available.

           B.      Expected Benefit of the Drug With Respect to the Disease or Condition

    When assessing a drug’s expected benefits with respect to a specific disease or condition, FDA
    may evaluate information about the drug’s effectiveness, whether the drug treats a serious
    disease or condition, whether it fills an unmet medical need, and whether it can cure the disease
    or alleviate its symptoms. FDA may also consider the extent to which new dosage forms
    enhance convenience of administration and/or improve adherence to prescribed regimens, and
    whether new formulations or delivery mechanisms may extend treatment to patient populations
    who were formerly unable to use the drug.

    A drug’s expected benefits, however, are not considered in isolation. In determining whether a
    REMS is necessary, FDA’s assessment of a drug’s benefit is balanced against consideration of
    the risks associated with its use. For example, a once-a-month oral dosage form of a drug that
    was previously only available as a daily oral dosage form may offer a meaningful benefit in
    terms of convenience to the patient and adherence to medication therapy, but may have a
    different risk profile (e.g., a new risk associated with the new formulation, or with the longer
    half-life of the drug) that makes it more likely that FDA would determine that a REMS is
    necessary to ensure that the benefits of the drug outweigh its risks.




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               C.       Seriousness of the Disease or Condition To Be Treated

    The seriousness of the disease or condition 26 to be treated is a part of FDA’s overall analysis of
    the benefits of a drug: the more serious the disease or condition to be treated, the greater the
    potential benefit of the drug’s measured effect in the benefit-risk assessment. Nevertheless, even
    for drugs intended to treat serious or life-threatening diseases or conditions, the severity,
    irreversibility, or duration of an associated risk may weigh in favor of a REMS. For example, if
    a drug indicated for long-term treatment of an indolent, asymptomatic, or slowly progressing
    cancer also has a more immediate risk of serious and potentially fatal cardiac arrhythmias, FDA
    may conclude that, without a REMS, the risk of serious cardiac arrhythmias outweighs the
    potential benefits of this kind of cancer treatment. In this example, a REMS may be required to
    educate prescribers about the risk, appropriate monitoring, and management of cardiac
    arrhythmias to help minimize the occurrence of the adverse event associated with the drug.

               D.       Whether the Drug Is a New Molecular Entity

    For new molecular entities (NMEs) 27 and certain Biologics License Applications (BLAs)
    licensed under section 351(a) of the PHS Act, available information about the drug can be
    limited and, as a result, there may be greater uncertainty about risks associated with the use of
    the drug that might emerge in the post-approval setting. When available safety information
    about a NME or BLA indicates a serious risk, there may be uncertainties about the nature of the
    serious risk (e.g., the strength of the association of the adverse event with drug treatment, the
    likelihood of occurrence of the adverse event, or the accuracy and/or reliability of the data).
    Depending on the nature of the uncertainties about the risks associated with the use of the drug,
    FDA may require a REMS to help ensure that the benefits of the drug outweigh its risks.




    26   FDA has defined serious disease or condition as
               “a disease or condition associated with morbidity that has substantial impact on day-to-day
               functioning. Short-lived and self-limiting morbidity will usually not be sufficient, but the
               morbidity need not be irreversible, provided it is persistent or recurrent. Whether a disease or
               condition is serious is a matter of clinical judgment, based on its impact on such factors as
               survival, day-to-day functioning, or the likelihood that the disease, if left untreated, will progress
               from a less severe condition to a more serious one.”
    (21 CFR 312.300(b)); see also FDA’s guidance for industry on Expedited Programs for Serious Conditions – Drugs
    and Biologics, available at
    http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM358301.pdf.
    27
      FDA has defined the term “new molecular entity” as an active ingredient that contains no active moiety that has
    been previously approved by the Agency in an application submitted under section 505 of the Act (in any
    application approved or deemed approved from 1938 to the present), or has been previously marketed as a drug in
    the United States. See Manual of Policies and Procedures (MAPP) 5018.2 NDA Classification Codes, available at
    http://www.fda.gov/AboutFDA/CentersOffices/OfficeofMedicalProductsandTobacco/CDER/ManualofPoliciesProce
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           E.      Expected or Actual Duration of Treatment With the Drug

    The duration of treatment with a drug and the impact of treatment length on the likelihood and
    severity of adverse events also affect FDA’s decision-making with regard to the need for a
    REMS. If long-term therapy with a drug appears to increase the likelihood of a serious adverse
    event, FDA may require a REMS either to limit the duration of treatment or to ensure that
    patients on long term treatment are monitored, e.g., for liver function if the drug is associated
    with liver toxicity.

    A REMS may also be required for a drug with a relatively short duration of treatment, depending
    on the nature of the associated risk if, for example, the drug is associated with a serious adverse
    event that occurs immediately after administration. Such a REMS may require that the drug only
    be administered in a setting in which monitoring is available to ensure that the adverse event can
    be appropriately managed or in a setting in which, for example, providers have received
    particular risk management training. Similarly, a REMS may be required for a drug that is only
    intended to be administered once or twice if FDA determines that specialized training is
    necessary to prevent the occurrence of an adverse event associated with improper drug
    administration. In some cases, serious adverse events may occur even after treatment with a
    drug has ended. In such cases, FDA may determine that a REMS is required to ensure proper
    monitoring of patients for a period of time following completion of treatment.

           F.      Estimated Size of Population Likely To Use the Drug

    In considering the estimated size of the population likely to use the drug, FDA considers, among
    other things, the extent to which that population includes patients expected to use the drug for
    unapproved uses and the risks associated with those uses. In certain cases, FDA may consider
    whether a REMS designed to help ensure that a drug’s use is limited to its approved indications
    is appropriate.


    VI.    ADDITIONAL CONSIDERATIONS: POTENTIAL BURDEN ON THE HEALTH
           CARE DELIVERY SYSTEM AND PATIENT ACCESS

    FDA understands that REMS, particularly those with ETASU, may impose some measure of
    burden on patients and/or health care providers. When considering this burden on patient access
    and the health care delivery system, FDA takes into account existing REMS elements for other
    drugs with similar risks and whether the REMS under consideration can be designed to be
    compatible with established medical drug distribution, procurement, and dispensing systems.
    FDA also considers how patients for whom the drug is indicated currently access health care
    (such as whether patients are in rural or medically underserved areas) and whether the REMS
    may impose additional access difficulties. FDA also takes into account the consequences of
    potential treatment interruption or delays, particularly where patients have serious or life-
    threatening conditions and/or have difficulty accessing health care. In such circumstances, FDA
    takes steps, to ensure that REMS are designed to minimize delays or interruptions in drug
    therapy that may have untoward clinical impact. Particularly for a REMS that requires additional
    procedures and controls in the patient care process, FDA also considers the characteristics,



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    experience, and size of the likely prescriber population; how the drug will likely be dispensed in
    the setting in which it will likely be used; and the patient population likely to use the drug.

    The selection of REMS elements and tools may be influenced by the extent to which they have
    already been used in the clinical trials to evaluate the drug’s safety and efficacy, and by what is
    known about the effectiveness of the elements and tools more generally. Selection of risk
    management elements and tools is also informed by any regulatory precedent for addressing
    similar risks. 28 For example, if a serious risk is common to all members of a drug class, FDA
    will consider, as appropriate, how the Agency has previously managed the riskand seek
    opportunities to standardize the approach to managing that risk. FDA also encourages sponsors
    to submit REMS proposals that are compatible with established distribution, procurement, and
    dispensing systems. Following approval of a REMS, FDA continues to evaluate the impact of
    the REMS on patient access and the health care delivery system.




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      In addition, the elements and tools may be driven by results of previous REMS assessments for REMS designed
    to address a similar risk, a similar patient population, or a similar drug distribution or dispensing system to the
    product under review.


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                                      Patient Information
                                          VIAGRA® (vi-AG-rah)
                                           (sildenafil citrate)
                                                  Tablets


   What is the most important information I should know about VIAGRA?
   VIAGRA can cause your blood pressure to drop suddenly to an unsafe level if it is
   taken with certain other medicines. Do not take VIAGRA if you take any other medicines
   called “nitrates.” Nitrates are used to treat chest pain (angina). A sudden drop in blood pressure
   can cause you to feel dizzy, faint, or have a heart attack or stroke.
   Tell all your healthcare providers that you take VIAGRA. If you need emergency medical
   care for a heart problem, it will be important for your healthcare provider to know when you last
   took VIAGRA.
   Stop sexual activity and get medical help right away if you get symptoms such as chest pain,
   dizziness, or nausea during sex.
   Sexual activity can put an extra strain on your heart, especially if your heart is already weak
   from a heart attack or heart disease. Ask your doctor if your heart is healthy enough to handle
   the extra strain of having sex.
   VIAGRA does not protect you or your partner from getting sexually transmitted diseases,
   including HIV—the virus that causes AIDS.


   What is VIAGRA?
   VIAGRA is a prescription medicine used to treat erectile dysfunction (ED). You will not get an
   erection just by taking this medicine. VIAGRA helps a man with erectile dysfunction get and
   keep an erection only when he is sexually excited (stimulated).
   VIAGRA is not for use in women or children.
   It is not known if VIAGRA is safe and effective in women or children under 18 years of age.


   Who should not take VIAGRA?
   Do not take VIAGRA if you:
       x   take medicines called “nitrates” (such as nitroglycerin)
       x   use street drugs called “poppers” such as amyl nitrate or amyl nitrite, and butyl nitrate
       x   are allergic to sildenafil, as contained in VIAGRA and REVATIO, or any of the ingredients
           in VIAGRA. See the end of this leaflet for a complete list of ingredients in VIAGRA.


   What should I tell my healthcare provider before taking VIAGRA?

   Before you take VIAGRA, tell your healthcare provider if you:

       x   have or have had heart problems such as a heart attack, irregular heartbeat, angina,
           chest pain, narrowing of the aortic valve or heart failure
       x   have had heart surgery within the last 6 months

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       x have had a stroke                PageID.9529
       x   have low blood pressure, or high blood pressure that is not controlled
       x   have a deformed penis shape
       x   have had an erection that lasted for more than 4 hours
       x   have problems with your blood cells such as sickle cell anemia, multiple myeloma, or
           leukemia
       x   have retinitis pigmentosa, a rare genetic (runs in families) eye disease
       x   have ever had severe vision loss, including an eye problem called non-arteritic anterior
           ischemic optic neuropathy (NAION)
       x   have bleeding problems
       x   have or have had stomach ulcers
       x   have liver problems
       x   have kidney problems or are having kidney dialysis
       x   have any other medical conditions

   Tell your healthcare provider about all the medicines you take*, including prescription
   and over-the-counter medicines, vitamins, and herbal supplements.
   VIAGRA may affect the way other medicines work, and other medicines may affect the way
   VIAGRA works causing side effects. Especially tell your healthcare provider if you take any of
   the following:
       x   medicines called nitrates (see “What is the most important information I should
           know about VIAGRA?”)
       x   medicines called alpha blockers such as Hytrin (terazosin HCl), Flomax (tamsulosin HCl),
           Cardura (doxazosin mesylate), Minipress (prazosin HCl), Uroxatral (alfuzosin HCl), Jalyn
           (dutasteride and tamsulosin HCl), or Rapaflo (silodosin). Alpha-blockers are sometimes
           prescribed for prostate problems or high blood pressure. In some patients, the use of
           VIAGRA with alpha-blockers can lead to a drop in blood pressure or to fainting.
       x   medicines called HIV protease inhibitors, such as ritonavir (Norvir), indinavir sulfate
           (Crixivan), saquinavir (Fortovase or Invirase) or atazanavir sulfate (Reyataz)
       x   some types of oral antifungal medicines, such as ketoconazole (Nizoral), and itraconozale
           (Sporanox)
       x   some types of antibiotics, such as clarithromycin (Biaxin), telithromycin (Ketek), or
           erythromycin
       x   other medicines that treat high blood pressure
       x   other medicines or treatments for ED
       x   VIAGRA contains sildenafil, which is the same medicine found in another drug called
           REVATIO. REVATIO is used to treat a rare disease called pulmonary arterial hypertension
           (PAH). VIAGRA should not be used with REVATIO or with other PAH treatments
           containing sildenafil or any other PDE5 inhibitors (such as Adcirca [tadalafil]).

   Ask your healthcare provider or pharmacist for a list of these medicines, if you are not sure.
   Know the medicines you take. Keep a list of them to show to your healthcare provider and
   pharmacist when you get a new medicine.


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   How should I take VIAGRA?               PageID.9530
        x Take VIAGRA exactly as your healthcare provider tells you to take it.
        x Your healthcare provider will tell you how much VIAGRA to take and when to take it.
        x Your healthcare provider may change your dose if needed.
        x Take VIAGRA about 1 hour before sexual activity. You may take VIAGRA between 30
          minutes to 4 hours before sexual activity if needed.
        x VIAGRA can be taken with or without food. If you take VIAGRA after a high fat meal (such
       as a cheeseburger and french fries), VIAGRA may take a little longer to start working
        x Do not take VIAGRA more than 1 time a day.
        x If you accidentally take too much VIAGRA, call your doctor or go to the nearest hospital
       emergency room right away.


   What are the possible side effects of VIAGRA?
   VIAGRA can cause serious side effects. Rarely reported side effects include:

   x   an erection that will not go away (priapism). If you have an erection that lasts more
       than 4 hours, get medical help right away. If it is not treated right away, priapism can
       permanently damage your penis.
   x   sudden vision loss in one or both eyes. Sudden vision loss in one or both eyes can be a
       sign of a serious eye problem called non-arteritic anterior ischemic optic neuropathy
       (NAION). Stop taking VIAGRA and call your healthcare provider right away if you have
       sudden vision loss in one or both eyes.
   x   sudden hearing decrease or hearing loss. Some people may also have ringing in their
       ears (tinnitus) or dizziness. If you have these symptoms, stop taking VIAGRA and contact a
       doctor right away.

   The most common side effects of VIAGRA are:
       x   headache
       x   flushing
       x   upset stomach
       x   abnormal vision, such as changes in color vision (such as having a blue color tinge) and
           blurred vision
       x   stuffy or runny nose
       x   back pain
       x   muscle pain
       x   nausea
       x   dizziness
       x   rash

   In addition, heart attack, stroke, irregular heartbeats and death have happened rarely in men
   taking VIAGRA. Most, but not all, of these men had heart problems before taking VIAGRA. It is
   not known if VIAGRA caused these problems.

   Tell your healthcare provider if you have any side effect that bothers you or does not go away.



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   These are not all the possible side effects of VIAGRA. For more information, ask your healthcare
   provider or pharmacist.

   Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-
   800-FDA-1088.


   How should I store VIAGRA?
   x   Store VIAGRA at room temperature between 68°F to 77°F (20°C to 25°C).
   Keep VIAGRA and all medicines out of the reach of children.


   General information about the safe and effective use of VIAGRA.
   Medicines are sometimes prescribed for purposes other than those listed in a Patient Information
   leaflet. Do not use VIAGRA for a condition for which it was not prescribed. Do not give VIAGRA
   to other people, even if they have the same symptoms that you have. It may harm them.
   This Patient Information leaflet summarizes the most important information about VIAGRA. If
   you would like more information, talk with your healthcare provider. You can ask your
   healthcare provider or pharmacist for information about VIAGRA that is written for health
   professionals.
   For more information, go to www.viagra.com, or call 1-888-4VIAGRA


   What are the ingredients in VIAGRA?
   Active ingredient: sildenafil citrate
   Inactive ingredients: microcrystalline cellulose, anhydrous dibasic calcium phosphate,
   croscarmellose sodium, magnesium stearate, hypromellose, titanium dioxide, lactose, triacetin,
   and FD & C Blue #2 aluminum lake


   This Patient Information has been approved by the U.S. Food and Drug Administration.




   Revised: 03/2014


   This product’s label may have been updated. For current full prescribing information, please visit
   www.pfizer.com.

   Viagra (sildenafil citrate), Revatio (sildenafil), Cardura (doxazosin mesylate), and Minipress
   (prazosin HCl) are registered trademarks of Pfizer Inc.
   *The other brands listed are trademarks of their respective owners and are not trademarks of
   Pfizer Inc. The makers of these brands are not affiliated with and do not endorse Pfizer Inc or its
   products.



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               NDA 205858/S-018
                                                                          SUPPLEMENT APPROVAL

               Gilead Sciences, Inc.
               Attention: Nate Schmidt, MS, MBA
               Manager, Regulatory Affairs
               199 East Blaine Street
               Seattle, WA 98102


               Dear Mr. Schmidt:

               Please refer to your supplemental new drug application (sNDA) dated January 10,
               2022, received January 10, 2022, submitted under section 505(b) of the Federal Food,
               Drug, and Cosmetic Act (FDCA) for Zydelig (idelalisib) tablets.

               This Prior Approval sNDA provides for proposed modifications to the approved Risk
               Evaluation and Mitigation Strategy (REMS) for Zydelig.

               We have completed our review of this supplement application. It is approved effective
               on the date of this letter.

               RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

               The REMS for Zydelig was originally approved on July 23, 2014, and the most recent
               REMS modification was approved on March 10, 2022. The REMS consists of a
               communication plan and a timetable for submission of assessments of the REMS.

               Your proposed modification to the REMS consists of eliminating the communication
               plan from the REMS, and for release from the requirement for the REMS.

               In accordance with section 505-1 of the FDCA, we have determined that the following
               REMS modifications are necessary to minimize burden on the healthcare delivery
               system of complying with the REMS:

                    •   Removal of the communication plan

               We have determined that the communication plan is no longer necessary to ensure the
               benefits of Zydelig (idelalisib) outweigh its risks because the communication plan has
               been completed and the most recent assessment demonstrates that the communication
               plan has met its goal based on knowledge surveys of healthcare providers that
               demonstrate acceptable understanding of the risks. No further assessments are
               necessary to assess the current communication plan.




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   Roger.Gural@usdoj.gov

   Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF HAWAI‘I

    GRAHAM T. CHELIUS, M.D., et al.,       CIV. NO. 1:17-00493 JAO-RT
    Plaintiffs,
                                            DEFENDANTS’ CONCISE
                  v.
                                            STATEMENT IN RESPONSE TO
                                            PLAINTIFFS’ CONCISE
    ALEX M. AZAR, II, M.D., M.P.H., in
                                            STATEMENT OF FACTS (DKT.
    his official capacity as SECRETARY,
                                            NO. 87)
    U.S. D.H.H.S., et al.,

                         Defendants.




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         except that Mifeprex is “well-      the drug outweigh the risks of the
         understood after more than 15       drug,” pursuant to 21 U.S.C. § 355-
         years of marketing” and             1(a)(1). JSF Ex. I at 0680; see also id.
         “[s]erious adverse events are       at 0679, 0681, 0688-89, 0702, 0707.
         rare.” JSF Ex. I, at 0681.          Not disputed that the cited quotes are
                                             accurate quotes for JSF Ex. I at 0681.
    17 The 2016 REMS Review for              Not disputed that the “Material
       Mifeprex did not list the 2013        Reviewed” list at JSF Ex. I at 0701
       REMS Review among the                 does not expressly contain the 2013
       “Materials Informing Our              REMS Review.
       Review.” JSF Ex. I, at 0701.
                                             Disputed in that the fact is not material
                                             to this case.
    18 Numerous laws and ethical             Not disputed that the practice of
       standards require clinicians to       medicine is regulated by the states.
       prescribe only medications they       Disputed in that the cited Declaration
       are qualified to provide, and to      paragraphs provide no support for its
       obtain informed consent.              assertions of requirements of
       Schreiber ¶¶58, 67, 76.               “[n]umerous laws and ethical
                                             standards,” Schreiber ¶¶ 58, 67, 76, and
                                             disputed in that the fact is not material
                                             to this case.
    19 In an emergency, all clinicians       Accuracy of fact not disputed, but
       can refer patients to the nearest     disputed in that the fact is not material
       Emergency Department, ensuring        to this case.
       access to surgery, blood
       transfusions, and resuscitation.
       Schreiber ¶64.
    20 All clinicians with prescriptive      Not disputed that clinicians with state-
       authority are qualified to            licensed prescribing authority are
       understand Mifeprex’s                 qualified to understand any prescribing
       prescribing information.              information sufficiently to discern
       Schreiber ¶65.                        whether they are qualified to prescribe
                                             or administer a particular drug.
                                             Disputed otherwise, and disputed in
                                             that the fact is not material to this case.

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            3456ÿ789ÿ ÿÿÿ6ÿ746ÿ789ÿ749673ÿ345679ÿ6ÿ
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          4ÿ678ÿ 8ÿ888ÿ888ÿÿÿ!"#$%&ÿ'()'ÿ)ÿ
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          456ÿ7899ÿ ÿ4 99ÿ87 6ÿÿÿ456ÿ ÿÿÿ4ÿ9ÿ8ÿ
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          4567ÿ89ÿ 99 89ÿ8ÿÿÿ8 ÿÿ9 ÿ!"ÿ
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          456789ÿ7ÿ5ÿ597ÿ5ÿ9ÿ9ÿ4ÿ565ÿ9ÿÿ9ÿ7ÿ
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      "!ÿ$ 5ÿ%&1'ÿ4ÿ97ÿ56785ÿ5ÿ5(565ÿ9ÿ)97ÿ57ÿ7ÿ5ÿ
          *)+ÿ59ÿ59,ÿ56595ÿ9855ÿ585-ÿÿ9ÿ9ÿ
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      "2!ÿ$ 5ÿ773ÿ6959ÿ355ÿ555ÿ7ÿ79,1975ÿ*)+ÿ
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      456ÿ89ÿÿ 9ÿ  ÿ ÿÿ1ÿ9ÿ ÿÿ ÿÿÿ
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          45676898ÿ96ÿ9598ÿÿ 6456ÿ95 ÿ569ÿ8 8ÿÿ565ÿ
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    Attorneys for Defendants (see signature page for complete list)

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAI‘I

    HEIDI PURCELL, M.D., FACOG, et                 CIV. NO. 1:17-00493-JAO-RT
    al.,
                                                   ANSWER TO CORRECTED
                              Plaintiffs,          SECOND AMENDED AND
                                                   SUPPLEMENTAL COMPLAINT
           v.
    XAVIER BECERRA, et al.,
                              Defendants.


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    speaks for itself, and respectfully refer the Court to the Mifepristone REMS

    Program for a full and complete statement of its contents.

          147. Defendants admit that the cited document contains the quoted text.

    Defendants deny any characterization of that document, which speaks for itself,

    and respectfully refer the Court to that document for a full and complete statement

    of its contents. Defendants further deny that FDA’s rationale for maintaining

    ETASU A was “a pure tautology.”

          148. This paragraph characterizes the cited documents. Defendants admit

    that on January 3, 2023, FDA approved supplemental applications that modified

    the Mifepristone REMS Program. Defendants further admit that the cited

    documents contain the quoted text. Defendants deny any characterization of those

    documents, which speak for themselves, and respectfully refer the Court to those

    documents for a full and complete statement of their contents.

          149. Deny.

          150. Deny.

          151. Defendants deny the allegations in the first sentence for lack of

    knowledge or information sufficient to form a belief as to their truth. Defendants

    deny the allegations in the second sentence.

          152. Deny, except Defendants admit there are other drugs for which patient

    screening is the standard of care but that are not subject to ETASU.

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    allegations characterize the Mifepristone REMS Program. Defendants deny any

    characterization of the Mifepristone REMS Program, which speaks for itself, and

    respectfully refer the Court to the Mifepristone REMS Program for a full and

    complete statement of its contents. Defendants further deny that the Pharmacy

    Certification ETASU imposes burdens beyond what is permitted by statute.

           158. As to the first sentence, Defendants admit that the cited document

    contains the quoted text. Defendants deny any characterization of that document,

    which speaks for itself, and respectfully refer the Court to that document for a full

    and complete statement of its contents. Defendants specifically deny that “the

    Pharmacy Certification ETASU is burdensome.” Defendants deny the allegations

    in the second sentence.

           159. Defendants admit that the cited document contains the quoted text.

    Defendants deny any characterization of that document, which speaks for itself,

    and respectfully refer the Court to that document for a full and complete statement

    of its contents.

           160. Defendants deny the allegations in the first sentence. As to the second

    sentence, Defendants admit that by January 3, 2023, a limited number of

    pharmacies had been dispensing mifepristone without certification for a period of

    time. Defendants deny any remaining allegations in the second sentence.




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